        Case 3:23-cv-05177-BAT Document 1 Filed 03/06/23 Page 1 of 6


 1

 2

 3

 4

 5

 6
                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 8

 9

10   BRIAN HOLM; KRISTIN HOLM,                 Case No.
11              Plaintiffs,                    COMPLAINT FOR DECLARATORY AND
                                               INJUNCTIVE RELIEF FOR VIOLATION
12        v.                                   OF THE FREEDOM OF INFORMATION
                                               ACT, 5 U.S.C. § 552
13   FEDERAL BUREAU OF INVESTIGATION;
     U.S. DEPARTMENT OF JUSTICE,
14
                Defendants.
15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                 Davis Wright Tremaine LLP
                                                                          L AW O FFICE S
                                                                    920 Fifth Avenue, Suite 3300
                                                                      Seattle, WA 98104-1610
     COMPLAINT - 1                                             206.622.3150 main · 206.757.7700 fax
            Case 3:23-cv-05177-BAT Document 1 Filed 03/06/23 Page 2 of 6


 1            Plaintiffs Brian Nordbjerg Holm (“Mr. Holm”), an individual, and Kristin Chapin Holm

 2   (“Mrs. Holm”), an individual, respectfully submit this Complaint for declaratory and injunctive

 3   relief alleging that Defendants Federal Bureau of Investigation (“FBI”) and U.S. Department of

 4   Justice (“DOJ”) have violated the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552 et seq.,

 5   and ordering them to promptly comply with the law.

 6                                       I.      INTRODUCTION

 7            1.     Beginning in May 2022, Mr. and Mrs. Holm filed multiple FOIA requests with

 8   Defendant FBI seeking the release of unredacted documents concerning an investigation

 9   conducted by Defendant FBI between July 2020 and May 2022.

10            2.     Although some of the Defendants have acknowledged receipt of those requests,

11   not a single document has been produced —or the reason for such withholding—as required by

12   law.

13            3.     “Disclosure , not secrecy, is the dominant objective” of the Freedom of

14   Information Act, Dep’t of Interior v. Klamath Water Users Protective Ass’n, 532 U.S. 1, 8 (2001)

15   (internal quotation marks and citations omitted), and the Act “focuses on the citizens’ right to be

16   informed about ‘what their government is up to.’” D.O.J. v. Reporters Comm. for Freedom of the

17   Press, 489 U.S. 749, 750, 773 (1989) (citation omitted).

18            4.     Defendant FBI agreed to produce the requested records, but contends it will take

19   67 months to do so. Such delays violate the purpose of FOIA. See Brennan Ctr. for Just. at

20   New York Univ. Sch. of L. v. United States Dep't of Just., No. CV 18-1860 (RDM), 2021 WL

21   2711765, at *7 (D.D.C. July 1, 2021) (“[FOIA’s] statutory goals—efficient, prompt, and full

22   disclosure of information— can be frustrated by agency actions that operate to delay the ultimate

23   resolution of the disclosure request.”) (emphasis in original) (citing Senate of Puerto Rico ex rel.

24   Judiciary Comm. v. U.S. Dep't of Just., 823 F.2d 574, 580 (D.C. Cir. 1987).

25            5.     Because Defendants have violated their duties under federal law, Mr. and Mrs.

26   Holm now request that this Court order Defendants to promptly comply, enjoin them from

27   further inaction, and reimburse their legal fees and costs incurred as a result.

28
                                                                                    Davis Wright Tremaine LLP
                                                                                             L AW O FFICE S
                                                                                       920 Fifth Avenue, Suite 3300
     COMPLAINT - 2                                                                       Seattle, WA 98104-1610
                                                                                  206.622.3150 main · 206.757.7700 fax
          Case 3:23-cv-05177-BAT Document 1 Filed 03/06/23 Page 3 of 6


 1                                                II.     PARTIES

 2           6.       Plaintiffs Brian Holm and Kristin Holm are Washington residents who currently

 3   reside in Buckley.

 4           7.       Defendant FBI is a federal agency within the meaning of 5 U.S.C. § 552(f) and

 5   component of Defendant DOJ, tasked with domestic intelligence and security and serves as the

 6   principal law enforcement agency of the United States. Mr. and Mrs. Holm are informed and

 7   believe that Defendant FBI has possession and control of the records sought by the pertinent

 8   requests.

 9           8.       Defendant DOJ is a federal agency within the meaning of 5 U.S.C. § 552(f) and is

10   a department of the federal government tasked with enforcement of federal law and

11   administration of justice for the United States. Mr. and Mrs. Holm are informed and believe that

12   the DOJ has possession and control of the records sought by the pertinent requests by virtue of its

13   control over Defendant FBI.

14                                         III.         JURISDICTION

15           9.       This Court has subject-matter jurisdiction over this action and personal jurisdiction

16   over the parties under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1331.

17                                                 IV.     VENUE

18           10.      Venue lies properly in this Court pursuant to 5 U.S.C. § 552(a)(4)(B) because Mr.

19   and Mrs. Holm reside in this judicial district. Furthermore, venue is proper under 28 U.S.C.

20   § 1391 because their requests and communications were initiated by them from Buckley,

21   Washington, and therefore, a substantial part of the events giving rise to the claim occurred in this

22   judicial district.

23                                                 V.      FACTS

24                                  Mr. and Mrs. Holm’s FOIA Requests

25           11.      Beginning in May 2022, Mr. and Mrs. Holm made FOIA requests to obtain

26   records regarding an FBI investigation.

27           12.      Mr. and Mrs. Holm resubmitted their FOIA request multiple times in order to

28   have it accepted by Defendant FBI.
                                                                                    Davis Wright Tremaine LLP
                                                                                             L AW O FFICE S
                                                                                       920 Fifth Avenue, Suite 3300
     COMPLAINT - 3                                                                       Seattle, WA 98104-1610
                                                                                  206.622.3150 main · 206.757.7700 fax
         Case 3:23-cv-05177-BAT Document 1 Filed 03/06/23 Page 4 of 6


 1          13.     On August 30, 2022, Defendant FBI informed Mr. and Mrs. Holm that it located

 2   approximately 746 pages of potentially responsive records in response to their Freedom of

 3   Information /Privacy Acts (“FOIPA”) request, number 1555217-000. See Exhibit A. Defendant

 4   FBI also located responsive audio and video files. Id.

 5          14.     On November 17, 2022, Defendant FBI informed Mr. and Mrs. Holm that it was

 6   “searching for, retrieving, scanning, and evaluating files that may be responsive to the FOIPA.”

 7   See Exhibit B. Defendant FBI also noted that the files would be forwarded to a “perfected

 8   backlog” before being assigned to an analyst. Id.

 9          15.     On December 8, 2022, Defendant FBI’s “Negotiation Team” contacted Mr. and

10   Mrs. Holm, informing them that their request would take at minimum 67 months to complete.

11   See Exhibit C. In this communication, Defendant FBI asked if Mr. and Mrs. Holm would be

12   willing to reduce the scope of their request. Id. Defendant FBI did not state whether it started

13   processing Mr. and Mrs. Holms’ request.

14          16.     On December 10, 2022, the Mr. and Mrs. Holm informed Defendant FBI they did

15   not want to reduce the scope of the request. See Exhibit C. On December 12, 2022, Defendant

16   FBI acknowledged receipt and would move forward with processing the request. Id.

17          17.     Since December 12, 2022, Defendant FBI has never provided any follow up

18   information and has produced none of the responsive documents it earlier identified.

19                                   VI.     CLAIMS FOR RELIEF

20                          Violation of Freedom of Information Act (FOIA)

21                             For Failure to Disclose Responsive Records

22          18.     Plaintiffs Mr. and Mrs. Holm allege and incorporate as set forth fully herein each

23   and every allegation contained in the above paragraphs.

24          19.     Defendants have violated 5 U.S.C. § 552(a)(3)(A) by failing to promptly release

25   agency records in response to Mr. and Mrs. Holm’s FOIA requests, which reasonably described

26   the records sought as detailed above.

27          20.     Defendants have violated 5 U.S.C. § 552(a)(6)(A) by failing to timely respond to

28   the FOIA request detailed above.
                                                                                  Davis Wright Tremaine LLP
                                                                                           L AW O FFICE S
                                                                                     920 Fifth Avenue, Suite 3300
     COMPLAINT - 4                                                                     Seattle, WA 98104-1610
                                                                                206.622.3150 main · 206.757.7700 fax
            Case 3:23-cv-05177-BAT Document 1 Filed 03/06/23 Page 5 of 6


 1             21.   Defendants have violated 5 U.S.C. § 552(a)(8)(A) by failing to disclose

 2   information that is not subject to an exemption, consider whether partial disclosure of

 3   information is possible, or take reasonable steps necessary to segregate and release nonexempt

 4   information.

 5             22.   Injunctive relief is authorized under 5 U.S.C. §552(a)(4)(B) because Defendants

 6   continue to improperly withhold records responsive to Plaintiffs’ FOIA request and do so as a

 7   matter of policy or practice, in violation of the FOIA. Mr. and Mrs. Holm have suffered injury

 8   and will continue to suffer injury from Defendants’ illegal refusal to timely respond and provide

 9   records.

10             23.   Declaratory relief is authorized under 28 U.S.C. § 2201 because an actual

11   controversy exists regarding Defendants’ failure to respond and improper withholding of the

12   records in violation of the FOIA. An actual controversy exists because Mr. and Mrs. Holm

13   contend that Defendants’ continuing failure to respond and to release the records violates the

14   law.

15                                    VII.   PRAYER FOR RELIEF

16             WHEREFORE, Plaintiffs Mr. and Mrs. Holm requests the Court award the following

17   relief:

18             A.    Declare that Defendants’ failure to disclose responsive records violates the FOIA;

19             B.    Declare unlawful and enjoin Defendants’ practice of failing to comply with their

20   required duties upon receipt of a properly submitted request under the FOIA;

21             C.    Order Defendants and all entities and agents, or other persons acting by, through,

22   for, or on behalf of Defendants, to conduct a prompt, reasonable search for records responsive to

23   Mr. and Mrs. Holm’s FOIA requests, without imposing search or duplication fees pursuant to 5

24   U.S.C. § 552(a)(4)(A);

25             D.    Enjoin Defendants and all entities and agents, or other persons acting by, through,

26   for, or on behalf of Defendants, from continuing to withhold records responsive to Mr. and Mrs.

27   Holm’s FOIA requests and order them to promptly produce the same;

28
                                                                                  Davis Wright Tremaine LLP
                                                                                           L AW O FFICE S
                                                                                     920 Fifth Avenue, Suite 3300
     COMPLAINT - 5                                                                     Seattle, WA 98104-1610
                                                                                206.622.3150 main · 206.757.7700 fax
         Case 3:23-cv-05177-BAT Document 1 Filed 03/06/23 Page 6 of 6


 1          E.     Award Mr. and Ms. Holm reasonable attorneys’ fees and costs pursuant to 5

 2   U.S.C. § 552(a)(4)(E) and 28 U.S.C. § 2412; and

 3          F.     Grant all other such relief to Mr. and Mrs. Holm as the Court deems just and

 4   equitable.

 5

 6   DATED: March 6, 2023                       Respectfully submitted,

 7                                              Davis Wright Tremaine LLP
 8
                                                By s/ Eric M. Stahl
 9                                              Eric M. Stahl, WSBA #27619
                                                920 5th Avenue, Suite 3300
10                                              Seattle, WA 98104-1610
                                                Telephone: (206) 622-3150
11                                              Fax: (206) 757-7700
12                                              E-mail: ericstahl@dwt.com

13                                              Thomas R. Burke*
                                                50 California Street, 23rd Floor
14                                              San Francisco, CA 94111
                                                Telephone: (415) 276-6500
15
                                                Fax: (415) 276-6599
16                                              E-mail: thomasburke@dwt.com

17                                              Attorneys for Plaintiffs Brian & Kristin Holm

18                                              *pro hac vice application forthcoming
19

20

21

22

23

24

25

26

27

28
                                                                               Davis Wright Tremaine LLP
                                                                                        L AW O FFICE S
                                                                                  920 Fifth Avenue, Suite 3300
     COMPLAINT - 6                                                                  Seattle, WA 98104-1610
                                                                             206.622.3150 main · 206.757.7700 fax
